                                        UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF ARIZONA

                                                        Minute Entry
Hearing Information:
                         Debtor:   BRUCE NICHOLAS GEORGE
                  Case Number:     2:23-BK-08935-EPB           Chapter: 13

          Date / Time / Room:      WEDNESDAY, JUNE 12, 2024 01:30 PM 7TH FLOOR #703

         Bankruptcy Judge:         EDDWARD P. BALLINGER JR.
               Courtroom Clerk:    DAWN SAUCIER
                Reporter / ECR:    FRANCHESCA GALLARDO                                            0.00


Matter:
              EVIDENTIARY HEARING ON MOTION FOR RELIEF FROM STAY
              R / M #:   40 / 0


Appearances:

        MARK R. ATCHLEY, ATTORNEY FOR BRUCE NICHOLAS GEORGE
        JUSTIN FOLSOM, ATTORNEY FOR FAWN BOONSTRA




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Proceedings:                                                                             1.00


          Mr. Folsom responds to the Court's inquiry regarding the nature of the pending
          state court action. He explains that it is a breach of contract action with a jury
          demand in which Ms. Boonstra is seeking specific performance of the sale
          contract. Counsel does not have documentation of the state court case to provide
          to the Court.

          The debtor's position is that the debtor canceled the contract after the movant
          made repair demands on an an-is contract. He does not have a copy of the
          canceled contract to provide to the Court today. It is debtor's argument that the
          property remains the debtor's property because it was never transferred to the
          movant.

          There is a pending motion to dismiss by the trustee for failure of the debtor to
          provide a stipulated order confirming plan. Debtor has filed an objection to
          dismissal based on the pending motion for stay relief and a pending adversary
          proceeding. Mr. Folsom is concerned that the debtor's bankruptcy case may be
          dismissed before the state court matter is concluded, so he requests that the stay
          relief motion be granted and that the matter proceed in state court. Mr. Atchley
          confirms that the debtor has no intention of allowing the bankruptcy case to be
          dismissed.

          COURT: The Court discusses the parties' failure to submit evidence
          that would permit the Court to determine today who has proper title
          to the property and whether the property is an asset of the debtor's
          bankruptcy estate. The Court also sets forth the benefits of the matter
          proceeding in this Court as opposed to state court. The Court advises
          movant to timely waive its demand for a jury trial in state court
          should the parties elect to have the matter determined in this Court.

          COURT: The Court advises the parties that the exhibits should
          include, at a minimum, a copy of the purchase contract, any
          subsequent written communications between the parties, and proof
          of the canceled contract, none of which were submitted today. The
          Court directs the parties to the Court's procedures page with respect
          to exhibits, objections, and witnesses.

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          Mr. Folsom confirms that that the movant would like to proceed before this
          Court. Mr. Folsom cannot indicate at this time if additional discovery will be
          required.

          COURT: IT IS ORDERED setting a telephonic pretrial conference for
          August 7, 2024, at 10:00 a.m. At the pretrial conference, the Court
          will set the date for trial and set a deadline for filing an amended joint
          pretrial statement, depending on whether additional discovery is
          needed and whether the parties intend to file pretrial motions.




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